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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT VANDERPLOEG,                           )
                                              )
                              Plaintiff,      )
                                              )       CIVIL ACTION
vs.                                           )
                                              )       Case No.
SAMANTHA MARKETPLACE LLC,                     )
                                              )
                              Defendant.      )


                                            COMPLAINT

       COMES NOW, ROBERT VANDERPLOEG, by and through the undersigned counsel,

and files this, his Complaint against Defendant, SAMANTHA MARKETPLACE LLC, pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, ROBERT VANDERPLOEG (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Houston, Texas (Harris

County).

       3.      Plaintiff is disabled as defined by the ADA.




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       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant, SAMANTHA MARKETPLACE LLC (hereinafter “SAMANTHA

MARKETPLACE LLC”), is a Delaware limited liability company that transacts business in the

State of Texas and within this judicial district.

       8.      Defendant, SAMANTHA MARKETPLACE LLC, may be properly served with

process for service via its registered agent, to wit: c/o Ho Yee Wu, Registered Agent, 1095

Evergreen Circle, Suite 200, The Woodlands, TX 77380.

                                   FACTUAL ALLEGATIONS

       9.      On or about March 9, 2020, Plaintiff was a customer at “All American Health

Foods” a business located at 320 E. Southmore Avenue, Pasadena, TX 77502, referenced herein

as “All American”. Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also

attached is a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

       10.     Plaintiff lives 12 miles from the Property.



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       11.     Defendant, SAMANTHA MARKETPLACE LLC, is the owner or co-owner of

the real property and improvements that Baskin-Robbins is situated upon and that is the subject

of this action, referenced herein as the “Property.”

       12.     Plaintiff’s access to the business(es) located 320 E. Southmore Avenue, Pasadena,

TX    77502, Harris County Property Appraiser’s account number 0513350000106 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, SAMANTHA MARKETPLACE LLC, is compelled to remove the physical barriers

to access and correct the ADA violations that exist at the Property, including those set forth in

this Complaint.

       13.     Defendant, SAMANTHA MARKETPLACE LLC, as property owner, is

responsible for complying with the ADA for both the exterior portions and interior portions of

the Property. Even if there is a lease between Defendant, SAMANTHA MARKETPLACE LLC,

and the tenant allocating responsibilities for ADA compliance within the unit the tenant operates,

that lease is only between the property owner and the tenant and does not abrogate the

Defendant’s requirement to comply with the ADA for the entire Property it owns, including the

interior portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.



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          15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,


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               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.



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       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     The Property is comprised of multiple buildings served by a single parking lot.

All of the buildings on the Property are public accommodations.

       27.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       29.     Defendant, SAMANTHA MARKETPLACE LLC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal enjoyment of



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the goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.     Defendant, SAMANTHA MARKETPLACE LLC, will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, SAMANTHA

MARKETPLACE LLC, is compelled to remove all physical barriers that exist at the Property,

including those specifically set forth herein, and make the Property accessible to and usable by

Plaintiff and other persons with disabilities.

       31.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Unit 308, there are two accessible parking space signs that are not at the

               proper height in violation of Section 502.6 of the 2010 ADAAG standards. This

               violation would make it difficult for Plaintiff to locate an accessible parking

               space.

       (ii)    Near Unit 308, there are two accessible parking space signs that do not contrast

               with their background so as to be able to adequately see the sign is designated as

               an accessible parking space. This failure to have adequate contrast is a violation

               of section 703.5.1 of the 2010 ADAAG standards.




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 (iii)    Near Unit 308, the access aisle to the accessible parking space is not level due to

          the presence of an accessible ramp in the access aisle in violation of Section 502.4

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (iv)     Near Unit 308, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010

          ADAAG Standards. This violation would make it difficult and dangerous for

          Plaintiff to exit/enter their vehicle.

 (v)      Near Unit 308, the accessible parking spaces are not level due to the presence of

          accessible ramp side flares in the accessible parking space in violation of Sections

          502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

          the Property.

 (vi)     Near Unit 308, there is a vertical rise exceeding ¼ inch at the top of the accessible

          ramp in violation of Sections 303.2 and 405.4 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access public features of the Property.

 (vii)    Near Unit 310, there is at least one accessible parking space that does not have a

          marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access the accessible entrances of the Property.

 (viii)   Due to the lack of an access aisle to the accessible parking space near Unit 310,

          when a vehicle parks next to this accessible parking space, there is not enough



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          room for an individual in a wheelchair to leave his/her vehicle, as a result, this

          accessible parking space is not located on an accessible route in violation of

          section 208.3.1 of the 2010 ADAAG standards.

 (ix)     Near Unit 310, there is a vertical rise exceeding ¼ inch at the base of the

          accessible ramp in violation of Sections 303.2 and 405.4 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access public features of the Property.

 (x)      Near Unit 312B, the access aisle to the accessible parking space is not level due to

          the presence of an accessible ramp in the access aisle in violation of Section 502.4

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xi)     Near Unit 312B, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010

          ADAAG Standards. This violation would make it difficult and dangerous for

          Plaintiff to exit/enter their vehicle.

 (xii)    Near Unit 312B, the accessible parking space is not level due to the presence of

          accessible ramp side flares in the accessible parking space in violation of Sections

          502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

          the Property.

 (xiii)   Near Unit 312B, there is one accessible parking space missing a sign which

          identifies the accessible parking space as accessible, this is a violation of section




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         502.6 of the 2010 ADAAG standards. This violation would make it difficult for

         Plaintiff find an accessible parking space.

 (xiv)   Near Unit 324B, there are two accessible parking spaces and a shared access aisle

         that have vertical rises exceeding ¼ inch in height and contain broken and

         unstable surfaces in violation of Sections 303.2 and 502.4 of the 2010 ADAAG

         standards. This violation would make it dangerous and difficult for Plaintiff to

         exit and enter their vehicle while parked at the Property.

 (xv)    Near Unit 324B, the access aisle to the accessible parking space is not level due to

         the presence of an accessible ramp in the access aisle in violation of Section 502.4

         of the 2010 ADAAG standards. This violation would make it dangerous and

         difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xvi)   Near Unit 324B, the accessible curb ramp is improperly protruding into the access

         aisle of the accessible parking space in violation of Section 406.5 of the 2010

         ADAAG Standards. This violation would make it difficult and dangerous for

         Plaintiff to exit/enter their vehicle.

 (xvii) Near Unit 324B, the accessible parking space is not level due to the presence of

         accessible ramp side flares in the accessible parking space in violation of Sections

         502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it

         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

         the Property.

 (xviii) Near Unit 328, the access aisle to the accessible parking space is not level due to

         the presence of an accessible ramp in the access aisle in violation of Section 502.4




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         of the 2010 ADAAG standards. This violation would make it dangerous and

         difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xix)   Near Unit 328, the accessible curb ramp is improperly protruding into the access

         aisle of the accessible parking space in violation of Section 406.5 of the 2010

         ADAAG Standards. This violation would make it difficult and dangerous for

         Plaintiff to exit/enter their vehicle.

 (xx)    Near Unit 328, the accessible parking space is not level due to the presence of

         accessible ramp side flares in the accessible parking space in violation of Sections

         502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it

         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

         the Property.

 (xxi)   Near Unit 328, there are two accessible parking spaces missing signage in

         violation of section 502.6 of the 2010 ADAAG Standards. This violation would

         make it difficult for Plaintiff to locate the accessible parking spaces.

 (xxii) Near Unit 330, there is at least one accessible parking space that does not have a

         properly marked access aisle in violation of Section 502.3.3 of the 2010 ADAAG

         standards. This violation would make it dangerous and difficult for Plaintiff to

         access the accessible entrances of the Property.

 (xxiii) Near Unit 330, there is one accessible parking space is not located on the shortest

         distance to the accessible route leading to the accessible entrances as it requires an

         individual to go behind a parked vehicle, in violation of Section 208.3.1 of the

         2010 ADAAG Standards. This violation would make it difficult for Plaintiff to

         access the units of the Property.



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       (xxiv) Near Unit 330, one of the accessible parking spaces is missing an access aisle in

                 violation of section 502.3 of the 2010 ADAAG standards.

       (xxv) Near Unit 330, both accessible parking spaces are missing signage in violation of

                 section 502.6 of the 2010 ADAAG Standards.

       32.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       33.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       34.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       35.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       37.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant,

SAMANTHA MARKETPLACE LLC, has the financial resources to make the necessary

modifications. According to the Property Appraiser, the Appraised value of the Property is

$3,047,000.00.

       38.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit



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and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       39.       Upon information and good faith belief, the Property has been altered since 2010.

       40.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       41.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

SAMANTHA MARKETPLACE LLC, is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

       42.       Plaintiff’s requested relief serves the public interest.

       43.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, SAMANTHA MARKETPLACE LLC.

       44.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, SAMANTHA MARKETPLACE LLC, pursuant to 42 U.S.C. §§

12188 and 12205.

       45.       Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant,

SAMANTHA MARKETPLACE LLC, to modify the Property to the extent required by the

ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)       That the Court find Defendant, SAMANTHA MARKETPLACE LLC, in

                 violation of the ADA and ADAAG;



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 (b)   That the Court issue a permanent injunction enjoining Defendant, SAMANTHA

       MARKETPLACE LLC, from continuing their discriminatory practices;

 (c)   That   the   Court    issue   an    Order   requiring   Defendant,    SAMANTHA

       MARKETPLACE LLC, to (i) remove the physical barriers to access and (ii) alter

       the Property to make it readily accessible to and useable by individuals with

       disabilities to the extent required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: September 18, 2020.

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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